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     Attorney for defendant,
4    Michael Ray Taylor, Jr.
5
                          UNITED STATES DISTRICT COURT
6
                   FOR THE EASTERN DISTSRICT OF CALIFORNIA
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8                                     ) Case No. 2:12-CR-0375 KJM
     UNITED STATES OF AMERICA,        )
9                                     ) STIPULATION AND ORDER
              Plaintiff,              ) CONTINUING DATE FOR
10                                    ) JUDGMENT AND SENTENCING
         vs.                          )
11                                    )
     MICHAEL RAY TAYLOR, JR., et al., )
12                                    )
              Defendants.             )
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14      Plaintiff, United States of America, by and through its counsel of record, and
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     Defendant, by and through its counsel of record, hereby stipulate as follows:
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        The sentencing date of August 25, 2016 be continued to November 17, 2016.
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18   Said date is requested in order to allow more time to complete the draft PSR. The
19   parties adopt the following schedule concerning the PSR: draft PSR due October 6,
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     2016; informal objections to draft PSR due October 20, 2016; final PSR due
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22   October 27, 2016; motion for correction of PSR due November 3, 2016; opposition

23   to any motion for correction due November 10, 2016.
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        IT IS SO STIPULATED
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     DATED: July 25, 2016              /s/ Timothy E. Warriner, Attorney for
                                       Defendant, Michael Taylor, Jr.
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     DATED: July 25, 2016              /s/ Jared C. Dolan, Assistant
4                                      U.S.Attorney
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6    IT IS SO ORDERED
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     DATED: JULY 26, 2016   ____           ______________________________
            UNITED                        STATES DISTRICT JUDGE
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